           Case 25-00495-5-PWM                    Doc 1 Filed 02/11/25 Entered 02/11/25 14:15:14                                  Page 1 of 55


Fill in this information to identify your case:


United States Bankruptcy Court for the:

EASTERN DISTRICT OF NORTH CAROLINA, RALEIGH DIVISION

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          06/24
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Wild Earth, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  Suite LL-70
                                  600 Park Offices Drive
                                                                                                  P.O. Box 10202

                                  Durham, NC 27709                                                Raleigh, NC 27605-1131
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Durham                                                          Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  See attached Exhibit A
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       wildearth.com


6.   Type of debtor                    Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                       Partnership (excluding LLP)
                                       Other. Specify:




 Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
           Case 25-00495-5-PWM                          Doc 1 Filed 02/11/25 Entered 02/11/25 14:15:14                                    Page 2 of 55
Debtor    Wild Earth, Inc.                                                                             Case number (if known)
          Name


7.   Describe debtor's business        A. Check one:
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                           Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 2047

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the                Chapter 7
     debtor filing?
                                           Chapter 9
                                           Chapter 11. Check all that apply:
                                                                 Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $3,024,725 (amount subject to adjustment on 4/01/25 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it chooses to
                                                                 proceed under Subchapter V of Chapter 11.
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                           Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against            Yes.
     the debtor within the last 8
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number

10. Are any bankruptcy cases              No
    pending or being filed by a           Yes.
    business partner or an
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                      Debtor                                                                     Relationship
                                                 District                                 When                              Case number, if known



 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                page 2
          Case 25-00495-5-PWM                        Doc 1 Filed 02/11/25 Entered 02/11/25 14:15:14                                    Page 3 of 55
Debtor   Wild Earth, Inc.                                                                          Case number (if known)
         Name

11. Why is the case filed in    Check all that apply:
    this district?                       Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any          Yes.
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                       50-99                                            5001-10,000                                 50,001-100,000
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion

16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                     $50,001 - $100,000                              $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                More than $50 billion




 Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
           Case 25-00495-5-PWM                    Doc 1 Filed 02/11/25 Entered 02/11/25 14:15:14                                     Page 4 of 55
Debtor   Wild Earth, Inc.                                                                          Case number (if known)
         Name



         Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on        February 11, 2025
                                                  MM / DD / YYYY


                             X /s/       Ryan Bethencourt                                                  Ryan Bethencourt
                                 Signature of authorized representative of debtor                         Printed name

                                 Title    Chief Executive Officer




18. Signature of attorney    X /s/ Laurie B. Biggs                                                         Date    February 11, 2025
                                 Signature of attorney for debtor                                                 MM / DD / YYYY

                                 Laurie B. Biggs 31845
                                 Printed name

                                 Biggs Law Firm PLLC
                                 Firm name

                                 9208 Falls of Neuse Road Suite 120
                                 Raleigh, NC 27615
                                 Number, Street, City, State & ZIP Code


                                 Contact phone      (919) 375-8040               Email address      lbiggs@biggslawnc.com

                                 31845 NC
                                 Bar number and State




 Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                  page 4
Case 25-00495-5-PWM         Doc 1 Filed 02/11/25 Entered 02/11/25 14:15:14   Page 5 of 55




 Wild Earth, Inc.
 Official Form 201-Voluntary Petition-EXHIBIT A


 1.     Location of Principal assets:
 Warehouse locations
 Fedex – Greenwood
 700 Commerce Parkway West Drive
 Suite B, Doors 16-33
 Greenwood, Indiana 46143

 Fedex
 5885 Sierra Avenue, Suite 200
 Fontana, CA 92336
 (USA)

 CenterPoint
 11971
 Grandview Road #C
 Greenview, MO 64030

 Inventel
 240 West Pkwy
 Pompton Plains, NJ 07444

 Barrett Petfood International
 1348 State Hwy 25
 Brainerd, MN 56401
        Case 25-00495-5-PWM                             Doc 1 Filed 02/11/25 Entered 02/11/25 14:15:14                          Page 6 of 55




 Fill in this information to identify the case:

 Debtor name         Wild Earth, Inc.

                                                    EASTERN DISTRICT OF NORTH CAROLINA, RALEIGH
 United States Bankruptcy Court for the:            DIVISION

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on           February 11, 2025                      X /s/ Ryan Bethencourt
                                                                       Signature of individual signing on behalf of debtor

                                                                        Ryan Bethencourt
                                                                       Printed name

                                                                       Chief Executive Officer
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
Software Copyright (c) 1996-2025 Best Case, LLC - www.bestcase.com                                                                       Best Case Bankruptcy
             Case 25-00495-5-PWM                             Doc 1 Filed 02/11/25 Entered 02/11/25 14:15:14                                             Page 7 of 55


 Fill in this information to identify the case:
 Debtor name Wild Earth, Inc.
 United States Bankruptcy Court for the: EASTERN DISTRICT OF NORTH                                                                                    Check if this is an
                                                CAROLINA, RALEIGH DIVISION
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 ADM Animal Nutrition                                           Trial production for                                                                                    $258,928.92
 Attn: Officer, Mgr. or                                         kibble
 Agent
 1000 North 30th
 Street
 Quincy, IL 62301
 ADM Animal Nutrition                                                                                                                                                     $14,000.00
 Attn: Officer, Mgr. or
 Agent
 1000 North 30th
 Street
 Quincy, IL 62301
 AT One Ventures LP                                                                                                                                                     $550,377.69

 Barrett Petfood                                                Inventory supplies                                                                                      $318,977.45
 Innovation                                                     (bags, labels,
 Attn: Officer, Mgr. or                                         pouches)
 Agent
 1348 State Hwy 25
 Brainerd, MN 56401
 Central Star                                                   Packaging               Disputed                                                                          $88,406.87
 Packaging Solutions                                            (Defective)
 LLC
 Attn: Officer, Mgr. or
 Agent
 4901 S. 4th Street
 Leavenworth, KS
 66048
 Climax Foods Inc.                                              Tenant security                                                                                           $20,000.00
 Attn: Officer, Mgr. or                                         deposit
 Agent
 2865 Seventh Street,
 Unit B
 Berkeley, CA 94710




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

Software Copyright (c) 1996-2025 Best Case, LLC - www.bestcase.com                                                                                            Best Case Bankruptcy
             Case 25-00495-5-PWM                             Doc 1 Filed 02/11/25 Entered 02/11/25 14:15:14                                             Page 8 of 55



 Debtor    Wild Earth, Inc.                                                                                   Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Espresso Capital Ltd.                                          Chase Chase Bank                                 $5,581,287.98             $1,359,525.28              $4,221,762.70
 Attn: Officer, Mgr. or                                         of America Bank of
 Agent                                                          America Shopify
 300-8 King Street                                              clearing PayPal
 East                                                           clearing Chewy,
 Toronto, Ontario,                                              Inc. KeHE Petco
 M5C 1B5                                                        United Natural
                                                                Foods, Inc. Petco
                                                                Finished goods
                                                                Office equipment
                                                                Patents - See
                                                                Exhibit B Stripe
                                                                clearing Digital
                                                                assets Inventory
                                                                supplies (bags,
                                                                labels, pouches)
                                                                wildearth.com;
                                                                wildearthpets.com;
                                                                wildearth.pet;
                                                                rescuedogrunways
                                                                how.com;
                                                                waginsider.com;
                                                                https://cellvalleylab
                                                                s.com/;
                                                                cellvalley.org;
                                                                wildearthfoods.co
                                                                Raw materials
 FedEx 3PL                                                                                                                                                              $276,774.19
 Attn: Officer, Mgr. or
 Agent
 3875 Airways,
 Module H3
 Department 4634

 Memphis, TN 38116
 Felicis Side Fund V                                                                                                                                                      $27,518.88
 LP

 Gaingels Wild Earth                                                                                                                                                      $88,610.81
 2023 LLC

 Greengang LLC                                                                                                                                                        $1,651,133.08

 Layfield USA                                                                                                                                                             $80,025.14
 Corporation
 Attn: Officer, Mgr. or
 Agent
 10038 Marathon
 Parkway
 Lakeside, CA 92040




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

Software Copyright (c) 1996-2025 Best Case, LLC - www.bestcase.com                                                                                            Best Case Bankruptcy
             Case 25-00495-5-PWM                             Doc 1 Filed 02/11/25 Entered 02/11/25 14:15:14                                             Page 9 of 55



 Debtor    Wild Earth, Inc.                                                                                   Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 MNTN, Inc.                                                                                                                                                               $13,140.10
 Attn: Officer, Mgr. or
 Agent
 P.O. Box 92101
 Las Vegas, NV 89193
 Propeller Industries,                                          Security Deposit to                                  $11,159.91                 $10,300.00                    $859.91
 LLC                                                            Propeller Industries
 Attn: Officer, Mgr. or                                         (DE), LLC
 Agent
 One World Trade
 Center, FL21
 285 Fulton Street

 New York, NY 10007
 Sales Taxes                                                                                                                                                              $35,195.33
 c/o Avalara, Inc.
 Attn: Officer, Mrg. or
 Agent
 255 S. King St., Ste
 1200
 Seattle, WA 98104
 Seventh Street                                                                                                                                                       $3,040,636.70
 Property VIII, LLC
 Attn: Officer, Mgr. or
 Agent
 5858 Horton St., Ste
 288
 Emeryville, CA 94608
 Triangle Tweener                                                                                                                                                       $110,075.54
 Fund, LP-B3

 Vanguard Packaging                                                                                                                                                       $16,832.00
 Attn: Officer, Mgr. or
 Agent
 8800 NE
 Underground Drive
 Kansas City, MO
 64161
 Ware2go, Inc.                                                  Finished goods                                      $309,787.16                  $8,826.30              $309,787.16
 Attn: Officer, Mgr. or
 Agent
 3535 Piedmont Rd,
 NE
 Bldg 14, Ste. 1500
 Atlanta, GA 30305
 Ziegler Distributor Inc                                                                                                                                                  $11,705.60
 Attn: Officer, Mgr. or
 Agent
 27 Lebanon Valley
 Pkwy
 Lebanon, PA 17042



Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

Software Copyright (c) 1996-2025 Best Case, LLC - www.bestcase.com                                                                                            Best Case Bankruptcy
       Case 25-00495-5-PWM                                         Doc 1 Filed 02/11/25 Entered 02/11/25 14:15:14                                                                  Page 10 of 55

 Fill in this information to identify the case:

 Debtor name            Wild Earth, Inc.

                                                               EASTERN DISTRICT OF NORTH CAROLINA, RALEIGH
 United States Bankruptcy Court for the:                       DIVISION

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $        2,424,899.27

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $        2,424,899.27


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $        5,902,235.05


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $            37,714.90

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        6,685,512.22


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $         12,625,462.17




 Official Form 206Sum                                             Summary of Assets and Liabilities for Non-Individuals                                                                                  page 1
Software Copyright (c) 1996-2025 Best Case, LLC - www.bestcase.com                                                                                                                          Best Case Bankruptcy
        Case 25-00495-5-PWM                            Doc 1 Filed 02/11/25 Entered 02/11/25 14:15:14                           Page 11 of 55

 Fill in this information to identify the case:

 Debtor name         Wild Earth, Inc.

                                                    EASTERN DISTRICT OF NORTH CAROLINA, RALEIGH
 United States Bankruptcy Court for the:            DIVISION

 Case number (if known)
                                                                                                                                    Check if this is an
                                                                                                                                    amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                   12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

          No. Go to Part 2.
          Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                Current value of
                                                                                                                                    debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                          Last 4 digits of account
                                                                                                         number


           3.1.    Chase                                                    Checking account             6319                                  $640,733.51




           3.2.    Chase                                                    Checking                     8654                                    $50,384.38




           3.3.    Bank of America                                          Checking                     6502                                  $187,122.69




           3.4.    Bank of America                                          Savings                      5882                                     $2,979.87




           3.5.    Chase                                                    Savings                      6319                                             $0.00



 4.        Other cash equivalents (Identify all)


           4.1.    Shopify clearing                                                                                                              $32,982.43




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                         page 1
Software Copyright (c) 1996-2025 Best Case, LLC - www.bestcase.com                                                                           Best Case Bankruptcy
       Case 25-00495-5-PWM                             Doc 1 Filed 02/11/25 Entered 02/11/25 14:15:14                           Page 12 of 55

 Debtor           Wild Earth, Inc.                                                                 Case number (If known)
                  Name




           4.2.     PayPal clearing                                                                                                        $1,005.74




           4.3.     Stripe clearing                                                                                                      $11,551.45




           4.4.     Coinbase commerce                                                                                                          $31.22



 5.        Total of Part 1.
                                                                                                                                     $926,791.29
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.

 7.        Deposits, including security deposits and utility deposits
           Description, including name of holder of deposit


           7.1.     Security Deposit to Propeller Industries (DE), LLC                                                                   $10,300.00




           7.2.     Security deposit for equipment lease with Farnam Street Financial Inc.                                               $16,865.00




           7.3.     Security deposit to Research Triangle Foundation of NC - Landlord                                                      $2,097.38




           7.4.     Security deposit to Seventh Street Property VIII, LLC (BOA-Letter of credit)                                       $700,000.00



 8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
           Description, including name of holder of prepayment

 9.        Total of Part 2.
                                                                                                                                     $729,262.38
           Add lines 7 through 8. Copy the total to line 81.

 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable

           11a. 90 days old or less:                                 21,183.21   -                                0.00 = ....            $21,183.21
                                              face amount                            doubtful or uncollectible accounts



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 2
Software Copyright (c) 1996-2025 Best Case, LLC - www.bestcase.com                                                                    Best Case Bankruptcy
       Case 25-00495-5-PWM                             Doc 1 Filed 02/11/25 Entered 02/11/25 14:15:14                                  Page 13 of 55

 Debtor         Wild Earth, Inc.                                                                      Case number (If known)
                Name


           11a. 90 days old or less:                                 10,080.00   -                                   0.00 = ....                  $10,080.00
                                              face amount                               doubtful or uncollectible accounts



           11a. 90 days old or less:                                 21,577.21   -                                   0.00 = ....                  $21,577.21
                                              face amount                               doubtful or uncollectible accounts



           11a. 90 days old or less:                                 34,505.20   -                                   0.00 = ....                  $34,505.20
                                              face amount                               doubtful or uncollectible accounts




           11b. Over 90 days old:                                     7,036.00   -                                  0.00 =....                      $7,036.00
                                              face amount                               doubtful or uncollectible accounts



           11b. Over 90 days old:                                     1,472.65   -                                  0.00 =....                      $1,472.65
                                              face amount                               doubtful or uncollectible accounts



 12.       Total of Part 3.
                                                                                                                                              $95,854.27
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.

           General description                       Date of the last                Net book value of         Valuation method used    Current value of
                                                     physical inventory              debtor's interest         for current value        debtor's interest
                                                                                     (Where available)

 19.       Raw materials
           Raw materials                                                                            $0.00                                         $13,281.00



 20.       Work in progress

 21.       Finished goods, including goods held for resale
           Finished goods                                                                           $0.00                                           $8,826.30


           Inventory                                                                                $0.00                                        $334,607.74



 22.       Other inventory or supplies
           Inventory supplies (bags,
           labels, pouches)                                                                         $0.00                                         $63,996.03



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                           page 3
Software Copyright (c) 1996-2025 Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
       Case 25-00495-5-PWM                             Doc 1 Filed 02/11/25 Entered 02/11/25 14:15:14                        Page 14 of 55

 Debtor         Wild Earth, Inc.                                                              Case number (If known)
                Name



 23.       Total of Part 5.
                                                                                                                                   $420,711.07
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
               No
               Yes

 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
             No
             Yes. Book value                            Valuation method                         Current Value

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
             No
             Yes

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used    Current value of
                                                                              debtor's interest      for current value        debtor's interest
                                                                              (Where available)

 39.       Office furniture

 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           Office equipment                                                                 $0.00                                       $10,099.26



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                            $10,099.26
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
             No
             Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.


 Part 9:        Real property
54. Does the debtor own or lease any real property?
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 4
Software Copyright (c) 1996-2025 Best Case, LLC - www.bestcase.com                                                                   Best Case Bankruptcy
       Case 25-00495-5-PWM                             Doc 1 Filed 02/11/25 Entered 02/11/25 14:15:14                        Page 15 of 55

 Debtor         Wild Earth, Inc.                                                              Case number (If known)
                Name



        No. Go to Part 10.
        Yes Fill in the information below.


 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.

            General description                                               Net book value of      Valuation method used    Current value of
                                                                              debtor's interest      for current value        debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets
            Patents - See Exhibit B                                                         $0.00                                      $142,181.00



 61.        Internet domain names and websites
            Digital assets                                                                  $0.00                                               $0.00


            wildearth.com; wildearthpets.com; wildearth.pet;
            rescuedogrunwayshow.com; waginsider.com;
            https://cellvalleylabs.com/; cellvalley.org;
            wildearthfoods.co                                                               $0.00                                      $100,000.00



 62.        Licenses, franchises, and royalties

 63.        Customer lists, mailing lists, or other compilations
            Customer lists consisting of names, addresses,
            names of pets, phone numbers                                                    $0.00                                               $0.00



 64.        Other intangibles, or intellectual property

 65.        Goodwill

 66.        Total of Part 10.
                                                                                                                                    $242,181.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
              No
              Yes

 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
                No
                Yes

 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
              No
              Yes

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 5
Software Copyright (c) 1996-2025 Best Case, LLC - www.bestcase.com                                                                   Best Case Bankruptcy
       Case 25-00495-5-PWM                             Doc 1 Filed 02/11/25 Entered 02/11/25 14:15:14                 Page 16 of 55

 Debtor         Wild Earth, Inc.                                                             Case number (If known)
                Name

                                                                                                                       Current value of
                                                                                                                       debtor's interest


 71.       Notes receivable
           Description (include name of obligor)

 72.       Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)

           Net Operating Losses - Federal and state                                            Tax year                             Unknown



 73.       Interests in insurance policies or annuities

           Directors and Officers Policy                                                                                            Unknown



 74.       Causes of action against third parties (whether or not a lawsuit
           has been filed)

 75.       Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

 76.       Trusts, equitable or future interests in property

 77.       Other property of any kind not already listed Examples: Season tickets,
           country club membership

 78.       Total of Part 11.
                                                                                                                                      $0.00
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
             No
             Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                          page 6
Software Copyright (c) 1996-2025 Best Case, LLC - www.bestcase.com                                                            Best Case Bankruptcy
       Case 25-00495-5-PWM                                 Doc 1 Filed 02/11/25 Entered 02/11/25 14:15:14                                                Page 17 of 55

 Debtor          Wild Earth, Inc.                                                                                   Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                     Current value of real
                                                                                                    personal property                    property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                          $926,791.29

 81. Deposits and prepayments. Copy line 9, Part 2.                                                               $729,262.38

 82. Accounts receivable. Copy line 12, Part 3.                                                                    $95,854.27

 83. Investments. Copy line 17, Part 4.                                                                                     $0.00

 84. Inventory. Copy line 23, Part 5.                                                                             $420,711.07

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                              $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                         $10,099.26

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                              $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                $242,181.00

 90. All other assets. Copy line 78, Part 11.                                                   +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                        $2,424,899.27             + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $2,424,899.27




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                            page 7
Software Copyright (c) 1996-2025 Best Case, LLC - www.bestcase.com                                                                                                  Best Case Bankruptcy
  Case 25-00495-5-PWM           Doc 1 Filed 02/11/25 Entered 02/11/25 14:15:14      Page 18 of 55


EXHIBIT B
Patents


Country Attorney Ref             Status      Appln No.:     Pat No.    Issue Date
US          WILD- General        Unfiled
US          WILD-701-301CON      Abandoned   16/133,619
US          WILD-701-302CON2     Issued      16/406,801     10973242 4/13/2021
US          WILD-701-303CON3     Issued      16/743,327     11259546 3/1/2022
US          WILD-701-303CON4     Published   17/682,874
WO          WILD-701-601PCT      Expired     PCT/US18/49202
GB          WILD-701-601UK       Issued      1816292.5      GB2576790 10/14/2020


Country Attorney Ref             Status      Appln No.:     Pat No.    Issue Date
United StatesWILD-701-302CON2    Issued      16/406,801     10973242   4/13/2021
United StatesWILD-701-302CON2    Issued      16/406,801     10973242   4/13/2021
United StatesWILD-701-302CON2    Issued      16/406,801     10973242   4/13/2021
United StatesWILD-701-302CON2    Issued      16/406,801     10973242   4/13/2021
United StatesWILD-701-303CON3    Issued      16/743,327     11259546   3/1/2022
United StatesWILD-701-303CON3    Issued      16/743,327     11259546   3/1/2022
United StatesWILD-701-303CON3    Issued      16/743,327     11259546   3/1/2022
United StatesWILD-701-303CON3    Issued      16/743,327     11259546   3/1/2022
United StatesWILD-701-303CON4    Published   17/682,874
United Kingd WILD-701-601UK      Issued      1816292.5      GB2576790 10/14/2020
       Case 25-00495-5-PWM                             Doc 1 Filed 02/11/25 Entered 02/11/25 14:15:14                                         Page 19 of 55

 Fill in this information to identify the case:

 Debtor name         Wild Earth, Inc.

                                                    EASTERN DISTRICT OF NORTH CAROLINA, RALEIGH
 United States Bankruptcy Court for the:            DIVISION

 Case number (if known)
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
           No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
 2.1   Espresso Capital Ltd.                         Describe debtor's property that is subject to a lien                $5,581,287.98             $1,359,525.28
       Creditor's Name                               Chase; Chase; Bank of America; Bank of
                                                     America; Shopify clearing ; PayPal clearing;
                                                     Chewy, Inc.; KeHE; Petco; United Natural Foods,
                                                     Inc.; Petco; Finished goods ; Office equipment;
                                                     Patents - See Exhibit B; Stripe clearing; Digital
                                                     assets; Inventory supplies (bags, labels,
                                                     pouches); wildearth.com; wildearthpets.com;
                                                     wildearth.pet; rescuedogrunwayshow.com;
       Attn: Officer, Mgr. or Agent                  waginsider.com; https://cellvalleylabs.com/;
       300-8 King Street East                        cellvalley.org; wildearthfoods.co ; Raw materials
       Toronto, Ontario, M5C 1B5
       Creditor's mailing address                    Describe the lien
                                                     First lien
                                                     Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
           No                                           Contingent
           Yes. Specify each creditor,                  Unliquidated
       including this creditor and its relative         Disputed
       priority.
       1. Espresso Capital Ltd.
       2. Ware2go, Inc.

 2.2   Espresso Capital Ltd.                         Describe debtor's property that is subject to a lien                           $0.00            $334,607.74
       Creditor's Name                               Inventory
       Attn: Officer, Mgr. or Agent
       300-8 King Street East
       Toronto, Ontario, M5C 1B5
       Creditor's mailing address                    Describe the lien

                                                     Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No


Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 3
Software Copyright (c) 1996-2025 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
        Case 25-00495-5-PWM                            Doc 1 Filed 02/11/25 Entered 02/11/25 14:15:14                                          Page 20 of 55

 Debtor       Wild Earth, Inc.                                                                         Case number (if known)
              Name

                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                As of the petition filing date, the claim is:
        interest in the same property?               Check all that apply
            No                                          Contingent
            Yes. Specify each creditor,                 Unliquidated
        including this creditor and its relative        Disputed
        priority.




 2.3    Propeller Industries, LLC                    Describe debtor's property that is subject to a lien                        $11,159.91          $10,300.00
        Creditor's Name                              Security Deposit to Propeller Industries (DE),
        Attn: Officer, Mgr. or Agent                 LLC
        One World Trade Center,
        FL21
        285 Fulton Street

        New York, NY 10007
        Creditor's mailing address                   Describe the lien
                                                     Security deposit
                                                     Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known               Yes
                                                     Is anyone else liable on this claim?
        Date debt was incurred                           No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                As of the petition filing date, the claim is:
        interest in the same property?               Check all that apply
            No                                          Contingent
            Yes. Specify each creditor,                 Unliquidated
        including this creditor and its relative        Disputed
        priority.




 2.4    Ware2go, Inc.                                Describe debtor's property that is subject to a lien                       $309,787.16           $8,826.30
        Creditor's Name                              Finished goods
        Attn: Officer, Mgr. or Agent
        3535 Piedmont Rd, NE
        Bldg 14, Ste. 1500
        Atlanta, GA 30305
        Creditor's mailing address                   Describe the lien
                                                     Statutory Lien
                                                     Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known               Yes
                                                     Is anyone else liable on this claim?
        Date debt was incurred                           No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                As of the petition filing date, the claim is:
        interest in the same property?               Check all that apply
            No                                          Contingent
            Yes. Specify each creditor,                 Unliquidated
        including this creditor and its relative        Disputed
        priority.
        Specified on line 2.1

                                                                                                                                $5,902,235.0
 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                          5

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,

Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 2 of 3
Software Copyright (c) 1996-2025 Best Case, LLC - www.bestcase.com                                                                                   Best Case Bankruptcy
       Case 25-00495-5-PWM                             Doc 1 Filed 02/11/25 Entered 02/11/25 14:15:14                                     Page 21 of 55

 Debtor       Wild Earth, Inc.                                                                  Case number (if known)
              Name

 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did you   Last 4 digits of
                                                                                                               enter the related creditor?       account number for
                                                                                                                                                 this entity
        Rachel Stoian
        Dorsey Whitney LLP                                                                                Line   2.1
        167 Hamilton Avenue, Suite 200

        Palo Alto, CA 94301




Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 3 of 3
Software Copyright (c) 1996-2025 Best Case, LLC - www.bestcase.com                                                                                   Best Case Bankruptcy
        Case 25-00495-5-PWM                            Doc 1 Filed 02/11/25 Entered 02/11/25 14:15:14                                        Page 22 of 55

 Fill in this information to identify the case:

 Debtor name         Wild Earth, Inc.

                                                    EASTERN DISTRICT OF NORTH CAROLINA, RALEIGH
 United States Bankruptcy Court for the:            DIVISION

 Case number (if known)
                                                                                                                                                 Check if this is an
                                                                                                                                                 amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
             No. Go to Part 2.
             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                   Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        Unknown           Unknown
           Delaware Division of Corporations                         Check all that apply.
                                                                        Contingent
           Attn: Officer, Mgr. or Agent
                                                                        Unliquidated
           P.O. Box 898
                                                                        Disputed
           Dover, DE 19903
           Date or dates debt was incurred                           Basis for the claim:
                                                                     Franchise taxes
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                           No
           unsecured claim: 11 U.S.C. § 507(a) (8)                       Yes


 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        Unknown           Unknown
           Durham Co. Tax Collector                                  Check all that apply.
                                                                        Contingent
           Attn: Officer, Manager or Agent
                                                                        Unliquidated
           201 E. Main Street
                                                                        Disputed
           Durham, NC 27701
           Date or dates debt was incurred                           Basis for the claim:
                                                                     Taxes
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                           No
           unsecured claim: 11 U.S.C. § 507(a) (8)                       Yes


 2.3       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                               $0.00      $0.00
           Internal Revenue Service                                  Check all that apply.
                                                                        Contingent
           Centralized Insolvency Operations
                                                                        Unliquidated
           P.O. Box 7346
                                                                        Disputed
           Philadelphia, PA 19101-7346
           Date or dates debt was incurred                           Basis for the claim:
                                                                     Notice purposes only
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                           No
           unsecured claim: 11 U.S.C. § 507(a) (8)                       Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                   page 1 of 9
Software Copyright (c) 1996-2025 Best Case, LLC - www.bestcase.com                                                                                        Best Case Bankruptcy
        Case 25-00495-5-PWM                            Doc 1 Filed 02/11/25 Entered 02/11/25 14:15:14                                                      Page 23 of 55

 Debtor       Wild Earth, Inc.                                                                                Case number (if known)
              Name

 2.4       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                       Unknown      Unknown
           N.C. Department of Revenue                                Check all that apply.
                                                                        Contingent
           Office Services Division, Bankruptcy
                                                                        Unliquidated
           Unit
                                                                        Disputed
           P.O. Box 1168
           Raleigh, NC 27602-1168
           Date or dates debt was incurred                           Basis for the claim:
                                                                     Notice purposes only
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                           No
           unsecured claim: 11 U.S.C. § 507(a) (8)                       Yes


 2.5       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                       $2,519.57    $2,519.57
           New York State                                            Check all that apply.
                                                                        Contingent
           NYS Sales Tax Processing
                                                                        Unliquidated
           PO Box 15172
                                                                        Disputed
           Albany, NY 12212
           Date or dates debt was incurred                           Basis for the claim:
           December 2024
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                           No
           unsecured claim: 11 U.S.C. § 507(a) (8)                       Yes


 2.6       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                  $35,195.33        $35,195.33
           Sales Taxes                                               Check all that apply.
                                                                        Contingent
           c/o Avalara, Inc.
                                                                        Unliquidated
           Attn: Officer, Mrg. or Agent
                                                                        Disputed
           255 S. King St., Ste 1200
           Seattle, WA 98104
           Date or dates debt was incurred                           Basis for the claim:
           January 2025
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                           No
           unsecured claim: 11 U.S.C. § 507(a) (8)                       Yes



 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                       Amount of claim


 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                $258,928.92
           ADM Animal Nutrition
           Attn: Officer, Mgr. or Agent
                                                                                       Contingent
           1000 North 30th Street                                                      Unliquidated
           Quincy, IL 62301                                                            Disputed
           Date(s) debt was incurred                                               Basis for the claim: Trial production for kibble
           Last 4 digits of account number                                         Is the claim subject to offset?      No         Yes


 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                  $14,000.00
           ADM Animal Nutrition
           Attn: Officer, Mgr. or Agent
                                                                                       Contingent
           1000 North 30th Street                                                      Unliquidated
           Quincy, IL 62301                                                            Disputed
           Date(s) debt was incurred                                               Basis for the claim:
           Last 4 digits of account number                                         Is the claim subject to offset?      No         Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                             Page 2 of 9
Software Copyright (c) 1996-2025 Best Case, LLC - www.bestcase.com                                                                                                   Best Case Bankruptcy
       Case 25-00495-5-PWM                             Doc 1 Filed 02/11/25 Entered 02/11/25 14:15:14                                              Page 24 of 55

 Debtor       Wild Earth, Inc.                                                                        Case number (if known)
              Name

 3.3      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $454.00
          Airgas USA, LLC
          Attn: Officer, Mgr. or Agent
                                                                                Contingent
          P.O. Box 93500                                                        Unliquidated
          Long Beach, CA 90809-3500                                             Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,666.66
          American Kennel Club, Inc.
          Attn: Officer, Mgr. or Agent
                                                                                Contingent
          8051 Arco Corporate Dr, Ste 114                                       Unliquidated
          Raleigh, NC 27617                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $550,377.69
          AT One Ventures LP                                                    Contingent
                                                                                Unliquidated
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?      No         Yes


 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,781.92
          Avalara, Inc.
          Attn: Officer, Mgr. or Agent
                                                                                Contingent
          255 S. King Street, Ste 1200                                          Unliquidated
          Seattle, WA 98104                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $318,977.45
          Barrett Petfood Innovation
          Attn: Officer, Mgr. or Agent
                                                                                Contingent
          1348 State Hwy 25                                                     Unliquidated
          Brainerd, MN 56401                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim: Inventory supplies (bags, labels, pouches)
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $9,403.82
          Berkley International, LLC
          Attn: Officer, Mgr. or Agent
                                                                                Contingent
          4007 Paramount Blvd, Unit 109                                         Unliquidated
          Lakewood, CA 90712                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,700.00
          Bottomless Co.
          Attn: Officer, Mgr. or Agent
                                                                                Contingent
          2810 N. Church Street                                                 Unliquidated
          Wilmington, DE 19802                                                  Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 3 of 9
Software Copyright (c) 1996-2025 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
        Case 25-00495-5-PWM                            Doc 1 Filed 02/11/25 Entered 02/11/25 14:15:14                                              Page 25 of 55

 Debtor       Wild Earth, Inc.                                                                        Case number (if known)
              Name

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $834.05
          Breeders Choice Pet Foods LLC
          Attn: Officer, Mgr. or Agent
                                                                                Contingent
          16321 East Arrow Highway                                              Unliquidated
          Irwindale, CA 91706                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,694.60
          Centerpoint Warehousing
          Attn: Officer, Mgr. or Agent
                                                                                Contingent
          11971 Grandview Road                                                  Unliquidated
          Grandview, MO 64030                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $88,406.87
          Central Star Packaging Solutions LLC
          Attn: Officer, Mgr. or Agent
                                                                                Contingent
          4901 S. 4th Street                                                    Unliquidated
          Leavenworth, KS 66048                                                 Disputed
          Date(s) debt was incurred                                          Basis for the claim: Packaging (Defective)
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,000.00
          Chuck Latham Associates, Inc.
          Attn: Officer, Mgr. or Agent
                                                                                Contingent
          18403 Longs Way, Unit 102                                             Unliquidated
          Parker, CO 80134                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim: Terminated lease
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,254.87
          City of Berkeley
          Attn: Officer, Mgr. or Agent
                                                                                Contingent
          1947 Center Street                                                    Unliquidated
          Berkeley, CA 94704                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $20,000.00
          Climax Foods Inc.
          Attn: Officer, Mgr. or Agent
                                                                                Contingent
          2865 Seventh Street, Unit B                                           Unliquidated
          Berkeley, CA 94710                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim: Tenant security deposit
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $11,045.17
          Ecomm Partners LLC
          Attn: Officer, Mgr. or Agent
                                                                                Contingent
          11971 Grandview Road #C                                               Unliquidated
          Grandview, MO 64030                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 4 of 9
Software Copyright (c) 1996-2025 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
        Case 25-00495-5-PWM                            Doc 1 Filed 02/11/25 Entered 02/11/25 14:15:14                                              Page 26 of 55

 Debtor       Wild Earth, Inc.                                                                        Case number (if known)
              Name

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $276,774.19
          FedEx 3PL
          Attn: Officer, Mgr. or Agent
          3875 Airways, Module H3
          Department 4634
                                                                                Contingent
                                                                                Unliquidated
          Memphis, TN 38116                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $27,518.88
          Felicis Side Fund V LP                                                Contingent
                                                                                Unliquidated
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?      No         Yes


 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $88,610.81
          Gaingels Wild Earth 2023 LLC                                          Contingent
                                                                                Unliquidated
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?      No         Yes


 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,651,133.08
          Greengang LLC                                                         Contingent
                                                                                Unliquidated
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?      No         Yes


 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $9,000.00
          Jade Street Consulting Inc.
          Attn: Officer, Mgr. or Agent
                                                                                Contingent
          60 Twin River Drive                                                   Unliquidated
          Oakdale, NY 11769                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,398.00
          KCH Transportation Inc.
          Attn: Officer, Mgr. or Agent
                                                                                Contingent
          1208 King Street, Ste. 320                                            Unliquidated
          Chattanooga, TN 37403                                                 Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $80,025.14
          Layfield USA Corporation
          Attn: Officer, Mgr. or Agent
                                                                                Contingent
          10038 Marathon Parkway                                                Unliquidated
          Lakeside, CA 92040                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 5 of 9
Software Copyright (c) 1996-2025 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
        Case 25-00495-5-PWM                            Doc 1 Filed 02/11/25 Entered 02/11/25 14:15:14                                              Page 27 of 55

 Debtor       Wild Earth, Inc.                                                                        Case number (if known)
              Name

 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $397.50
          Lehrman Beverage Law
          Attn: Manager or Agent
                                                                                Contingent
          2911 Hunter Mill Rd #303                                              Unliquidated
          Oakton, VA 22124                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,000.00
          Livestock Labs                                                        Contingent
                                                                                Unliquidated
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Tenant security deposit
          Last 4 digits of account number
                                                                             Is the claim subject to offset?      No         Yes


 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $8,994.57
          Meta Platforms, Inc.
          Attn: Officer, Mgr. or Agent
                                                                                Contingent
          15161 Collection Center Dr                                            Unliquidated
          Chicago, IL 60693                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $13,140.10
          MNTN, Inc.
          Attn: Officer, Mgr. or Agent
                                                                                Contingent
          P.O. Box 92101                                                        Unliquidated
          Las Vegas, NV 89193                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,500.00
          Mventix Inc.
          Attn: Officer, Mgr. or Agent
                                                                                Contingent
          21600 Oxnard St., Ste 1700                                            Unliquidated
          Woodland Hills, CA 91367                                              Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $450.00
          North River Enterprises LLC
          Attn: Officer, Mgr. or Agent
                                                                                Contingent
          P.O. Box 2287                                                         Unliquidated
          Evergreen, CO 80437                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,363.96
          PAXIO, Inc.
          Attn: Officer, Mgr. or Agent
                                                                                Contingent
          P.O. Box 8247                                                         Unliquidated
          Emeryville, CA 94662                                                  Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 6 of 9
Software Copyright (c) 1996-2025 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
        Case 25-00495-5-PWM                            Doc 1 Filed 02/11/25 Entered 02/11/25 14:15:14                                              Page 28 of 55

 Debtor       Wild Earth, Inc.                                                                        Case number (if known)
              Name

 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,000.00
          Performyard Inc.
          Attn: Officer, Mgr. or Agent
                                                                                Contingent
          4201 Wilson Blvd, #110420                                             Unliquidated
          Arlington, VA 22203                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,906.53
          PG&E
          Attn: Officer, Mgr. or Agent
                                                                                Contingent
          P.O. Box 997300                                                       Unliquidated
          Sacramento, CA 95899-7300                                             Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,807.50
          Quatrro Business Support Svcs
          Attn: Officer, Mgr. or Agent
                                                                                Contingent
          1710 S. Amphlett Blvd, Ste 320                                        Unliquidated
          San Mateo, CA 94402                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $456.00
          Redwood Security Systems, Inc.
          Attn: Officer, Mgr. or Agent
                                                                                Contingent
          P.O. Box 1809                                                         Unliquidated
          Mill Valley, CA 94942                                                 Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $3,040,636.70
          Seventh Street Property VIII, LLC
          Attn: Officer, Mgr. or Agent
                                                                                Contingent
          5858 Horton St., Ste 288                                              Unliquidated
          Emeryville, CA 94608                                                  Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,414.03
          Storella & Witt, LLP
          Attn: Officer, Mgr. or Agent
          2625 Alcatraz Ave #197
                                                                                Contingent
          Ste. A-015                                                            Unliquidated
          Berkeley, CA 94705                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $110,075.54
          Triangle Tweener Fund, LP-B3                                          Contingent
                                                                                Unliquidated
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?      No         Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 7 of 9
Software Copyright (c) 1996-2025 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
        Case 25-00495-5-PWM                            Doc 1 Filed 02/11/25 Entered 02/11/25 14:15:14                                              Page 29 of 55

 Debtor       Wild Earth, Inc.                                                                        Case number (if known)
              Name

 3.38      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $16,832.00
           Vanguard Packaging
           Attn: Officer, Mgr. or Agent
                                                                                Contingent
           8800 NE Underground Drive                                            Unliquidated
           Kansas City, MO 64161                                                Disputed
           Date(s) debt was incurred                                         Basis for the claim:
           Last 4 digits of account number                                   Is the claim subject to offset?      No         Yes


 3.39      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $3,785.12
           Veolia WTS Services USA, Inc.
           Attn: Officer, Mgr. or Agent
                                                                                Contingent
           P.O. Box 742132                                                      Unliquidated
           Los Angeles, CA 90074-2132                                           Disputed
           Date(s) debt was incurred                                         Basis for the claim:
           Last 4 digits of account number                                   Is the claim subject to offset?      No         Yes


 3.40      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $7,578.45
           Wilson Sonsini Goodrich and Rosati, PC
           Attn: Officer, Mgr. or Agent
                                                                                Contingent
           P.O. Box 742866                                                      Unliquidated
           Los Angeles, CA 90074                                                Disputed
           Date(s) debt was incurred                                         Basis for the claim:
           Last 4 digits of account number                                   Is the claim subject to offset?      No         Yes


 3.41      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $2,500.00
           XELA Janitorial
           Attn: Officer, Mgr. or Agent
                                                                                Contingent
           1318 Chignahuapan Way                                                Unliquidated
           Roseville, CA 95747                                                  Disputed
           Date(s) debt was incurred                                         Basis for the claim:
           Last 4 digits of account number                                   Is the claim subject to offset?      No         Yes


 3.42      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                  $982.50
           Zari Consulting Group, Inc.
           Attn: Officer, Mgr. or Agent
                                                                                Contingent
           755 Baywood Drive, 2nd Floor                                         Unliquidated
           Petaluma, CA 94954                                                   Disputed
           Date(s) debt was incurred                                         Basis for the claim:
           Last 4 digits of account number                                   Is the claim subject to offset?      No         Yes


 3.43      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $11,705.60
           Ziegler Distributor Inc
           Attn: Officer, Mgr. or Agent
                                                                                Contingent
           27 Lebanon Valley Pkwy                                               Unliquidated
           Lebanon, PA 17042                                                    Disputed
           Date(s) debt was incurred                                         Basis for the claim:
           Last 4 digits of account number                                   Is the claim subject to offset?      No         Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                      related creditor (if any) listed?               account number, if
                                                                                                                                                      any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 8 of 9
Software Copyright (c) 1996-2025 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
       Case 25-00495-5-PWM                             Doc 1 Filed 02/11/25 Entered 02/11/25 14:15:14                                      Page 30 of 55

 Debtor       Wild Earth, Inc.                                                                   Case number (if known)
              Name

5.   Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                  Total of claim amounts
 5a. Total claims from Part 1                                                                       5a.       $                     37,714.90
 5b. Total claims from Part 2                                                                       5b.   +   $                  6,685,512.22

 5c. Total of Parts 1 and 2
        Lines 5a + 5b = 5c.                                                                         5c.       $                    6,723,227.12




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 9 of 9
Software Copyright (c) 1996-2025 Best Case, LLC - www.bestcase.com                                                                                Best Case Bankruptcy
        Case 25-00495-5-PWM                            Doc 1 Filed 02/11/25 Entered 02/11/25 14:15:14                             Page 31 of 55

 Fill in this information to identify the case:

 Debtor name         Wild Earth, Inc.

                                                    EASTERN DISTRICT OF NORTH CAROLINA, RALEIGH
 United States Bankruptcy Court for the:            DIVISION

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired
                                                                                    lease

 2.1.        State what the contract or                   Equipment lease
             lease is for and the nature of
             the debtor's interest

                 State the term remaining                 June 2025                     Farnam Street Financial
                                                                                        Attn: Officer, Mgr. or Agent
             List the contract number of any                                            5850 Opus Pkwy, Suite 240
                   government contract                                                  Hopkins, MN 55343


 2.2.        State what the contract or                   Office lease - RTP
             lease is for and the nature of
             the debtor's interest

                 State the term remaining                 $4,825.21 per month
                                                          expiring August 2025
             List the contract number of any                                            Frontier
                   government contract


 2.3.        State what the contract or
             lease is for and the nature of
             the debtor's interest

                 State the term remaining                 Expires May 2025

             List the contract number of any                                            Intercom
                   government contract


 2.4.        State what the contract or                   Grocery broker contract
             lease is for and the nature of
             the debtor's interest

                 State the term remaining

             List the contract number of any                                            Jade Street
                   government contract




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 2
Software Copyright (c) 1996-2025 Best Case, LLC - www.bestcase.com                                                                          Best Case Bankruptcy
        Case 25-00495-5-PWM                            Doc 1 Filed 02/11/25 Entered 02/11/25 14:15:14                        Page 32 of 55
 Debtor 1 Wild Earth, Inc.                                                                      Case number (if known)
              First Name              Middle Name                    Last Name


            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired
                                                                                    lease

 2.5.        State what the contract or                   Lease of approx. 26,645
             lease is for and the nature of               sq. ft. bldg located at
             the debtor's interest                        2865 Seventh Street ,
                                                          Berkeley, California
                 State the term remaining                 Expires May 2028

             List the contract number of any                                            Seventh Street Property VIII, LLC
                   government contract




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                       Page 2 of 2
Software Copyright (c) 1996-2025 Best Case, LLC - www.bestcase.com                                                                    Best Case Bankruptcy
       Case 25-00495-5-PWM                              Doc 1 Filed 02/11/25 Entered 02/11/25 14:15:14                        Page 33 of 55

 Fill in this information to identify the case:

 Debtor name         Wild Earth, Inc.

                                                    EASTERN DISTRICT OF NORTH CAROLINA, RALEIGH
 United States Bankruptcy Court for the:            DIVISION

 Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor


               Name                            Mailing Address                                   Name                           Check all schedules
                                                                                                                                that apply:
    2.1                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State      Zip Code


    2.2                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State      Zip Code


    2.3                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State      Zip Code


    2.4                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State      Zip Code




Official Form 206H                                                           Schedule H: Your Codebtors                                       Page 1 of 1
Software Copyright (c) 1996-2025 Best Case, LLC - www.bestcase.com                                                                        Best Case Bankruptcy
       Case 25-00495-5-PWM                             Doc 1 Filed 02/11/25 Entered 02/11/25 14:15:14                              Page 34 of 55




 Fill in this information to identify the case:

 Debtor name         Wild Earth, Inc.

                                                    EASTERN DISTRICT OF NORTH CAROLINA, RALEIGH
 United States Bankruptcy Court for the:            DIVISION

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                 04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                  Gross revenue
       which may be a calendar year                                                            Check all that apply                (before deductions and
                                                                                                                                   exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                       $590,000.00
       From 01/01/2025 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                     $7,581,782.18
       From 01/01/2024 to 12/31/2024
                                                                                                   Other


       For year before that:                                                                       Operating a business                   $10,655,189.77
       From 01/01/2023 to 12/31/2023
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue   Gross revenue from
                                                                                                                                   each source
                                                                                                                                   (before deductions and
                                                                                                                                   exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             page 1

Software Copyright (c) 1996-2025 Best Case, LLC - www.bestcase.com                                                                          Best Case Bankruptcy
       Case 25-00495-5-PWM                             Doc 1 Filed 02/11/25 Entered 02/11/25 14:15:14                                         Page 35 of 55
 Debtor       Wild Earth, Inc.                                                                          Case number (if known)




           None.

       Creditor's Name and Address                                           Dates               Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.1.                                                                                                                           Secured debt
               See attached Exhibit C                                                                              $0.00
                                                                                                                                      Unsecured loan repayments
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Services
                                                                                                                                      Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                            Dates               Total amount of value           Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold
   at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                              Describe of the Property                                       Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                              Description of the action creditor took                        Date action was                  Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                       Nature of case             Court or agency's name and                  Status of case
               Case number                                                                 address
       7.1.    Seventh Street Property VIII,                    Entry of default           Superior Court of California,                   Pending
               LLC v. Wild Earth, Inc., et al.                                             County of Alameda                               On appeal
               24CV092884                                                                  1221 Oak Street                                 Concluded
                                                                                           Oakland, CA 94612

       7.2.    Perform Yard, Inc. v. Wild                       Collection                 Fairfax County General                          Pending
               Earth, Inc.                                                                 District Court                                  On appeal
                                                                                           4110 Chain Bridge Road                          Concluded
                                                                                           Fairfax, VA 22030


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.


Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                        page 2

Software Copyright (c) 1996-2025 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case 25-00495-5-PWM                             Doc 1 Filed 02/11/25 Entered 02/11/25 14:15:14                                      Page 36 of 55
 Debtor        Wild Earth, Inc.                                                                            Case number (if known)



           None


 Part 4:       Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

                Recipient's name and address                    Description of the gifts or contributions                  Dates given                      Value


 Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                     Amount of payments received for the loss                   Dates of loss       Value of property
       how the loss occurred                                                                                                                                lost
                                                                If you have received payments to cover the loss, for
                                                                example, from insurance, government compensation, or
                                                                tort liability, list the total received.

                                                                List unpaid claims on Official Form 106A/B (Schedule
                                                                A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                 Who was paid or who received                        If not money, describe any property transferred           Dates            Total amount or
                 the transfer?                                                                                                                           value
                 Address
       11.1.     Sherwood Partners, Inc.
                 3945 Freedom Circle, Suite 560
                 Santa Clara, CA 95054                                                                                                              $37,500.00

                 Email or website address


                 Who made the payment, if not debtor?




       11.2.     Biggs Law Firm PLLC
                 9208 Falls of Neuse Road
                 Suite 120
                 Raleigh, NC 27615                                                                                             12/9/2024            $25,000.00

                 Email or website address


                 Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.


Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 3

Software Copyright (c) 1996-2025 Best Case, LLC - www.bestcase.com                                                                               Best Case Bankruptcy
       Case 25-00495-5-PWM                             Doc 1 Filed 02/11/25 Entered 02/11/25 14:15:14                                     Page 37 of 55
 Debtor        Wild Earth, Inc.                                                                          Case number (if known)




           None.

       Name of trust or device                                       Describe any property transferred                 Dates transfers            Total amount or
                                                                                                                       were made                           value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

                Who received transfer?                          Description of property transferred or                   Date transfer            Total amount or
                Address                                         payments received or debts paid in exchange              was made                          value

  Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                 Address                                                                                                   Dates of occupancy
                                                                                                                           From-To
       14.1.     2865 7th Street                                                                                           April 2019 to Spring 2023
                 Suite B
                 Berkeley, CA 94710

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.

                 Facility name and address                      Nature of the business operation, including type of services             If debtor provides
                                                                the debtor provides                                                      meals and housing,
                                                                                                                                         number of patients in
                                                                                                                                         debtor’s care

 Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

                   Names, addresses, phone numbers, names of dogs
                   Does the debtor have a privacy policy about that information?
                     No
                     Yes

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?

                       No Go to Part 10.
                       Yes. Fill in below:

 Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units



Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 4

Software Copyright (c) 1996-2025 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
       Case 25-00495-5-PWM                             Doc 1 Filed 02/11/25 Entered 02/11/25 14:15:14                                     Page 38 of 55
 Debtor      Wild Earth, Inc.                                                                           Case number (if known)




18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and                    Last 4 digits of          Type of account or           Date account was           Last balance
              Address                                           account number            instrument                   closed, sold,          before closing or
                                                                                                                       moved, or                       transfer
                                                                                                                       transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

       Depository institution name and address                       Names of anyone with                 Description of the contents          Does debtor
                                                                     access to it                                                              still have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

       Facility name and address                                     Names of anyone with                 Description of the contents          Does debtor
                                                                     access to it                                                              still have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                   Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 5

Software Copyright (c) 1996-2025 Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
       Case 25-00495-5-PWM                             Doc 1 Filed 02/11/25 Entered 02/11/25 14:15:14                                         Page 39 of 55
 Debtor      Wild Earth, Inc.                                                                           Case number (if known)




       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Propeller Industries, LLC                                                                                                  2019 to present
                    One World Trade Center
                    285 Fulton Street
                    New York, NY 10007
       26a.2.       Scrubbed.net LLC                                                                                                           2017 to current (Tax
                    One Sansome Street                                                                                                         accounts)
                    Suite 3500 PMB 6006
                    San Francisco, CA 94104

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

                None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26b.1.       Moss Adams LLP                                                                                                             2021 - 2023
                    P.O. Box 101822
                    Pasadena, CA 91189-1822

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

                None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Propeller Industries, LLC
                    One World Trade Center
                    285 Fulton Street
                    New York, NY 10007
       26c.2.       Scrubbed.net LLC
                    One Sansome Street
                    Suite 3500 PMB 6006
                    San Francisco, CA 94104
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                         page 6

Software Copyright (c) 1996-2025 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
       Case 25-00495-5-PWM                             Doc 1 Filed 02/11/25 Entered 02/11/25 14:15:14                                   Page 40 of 55
 Debtor      Wild Earth, Inc.                                                                           Case number (if known)



       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.3.       Moss Adams LLP
                    P.O. Box 101822
                    Pasadena, CA 91189-1822

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

                None

       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                          Date of inventory       The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                          Address                                              Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Ryan Bethencourt                              3 Spreading Oak Court                                Officer, Shareholder, Director        9.17%
                                                     Durham, NC 27713

       Name                                          Address                                              Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Antony Evans                                                                                       Officer (Secretary-COO,               1.34
                                                                                                          Shareholder)

       Name                                          Address                                              Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Liang-Yu Chi                                  767 19th Avenue #2                                   Director
                                                     San Francisco, CA 94121

       Name                                          Address                                              Position and nature of any            % of interest, if
                                                                                                          interest                              any
       See Ex. D for remaining
       shareholders

       Name                                          Address                                              Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Mariliis Holm                                                                                      Director




29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.

       Name                                          Address                                              Position and nature of any        Period during which
                                                                                                          interest                          position or interest
                                                                                                                                            was held
       Amy Trakinski                                 165 West 91st Street, Apt 16B                        Director                          _______________
                                                     New York, NY 10024                                                                     _ to August 2024



Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 7

Software Copyright (c) 1996-2025 Best Case, LLC - www.bestcase.com                                                                                Best Case Bankruptcy
       Case 25-00495-5-PWM                             Doc 1 Filed 02/11/25 Entered 02/11/25 14:15:14                                   Page 41 of 55
 Debtor      Wild Earth, Inc.                                                                           Case number (if known)



       Name                                          Address                                              Position and nature of any       Period during which
                                                                                                          interest                         position or interest
                                                                                                                                           was held
       Jay Karandiker                                1430 5th Street, Apt 609                             Director

                                                     Santa Monica, CA 90401

30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                    Amount of money or description and value of              Dates             Reason for
                                                                property                                                                   providing the value
       30.1 Ryan Bethencourt
       .    3 Spreading Oak Court                               $250,000.08 Wages and$600 cell phone                                       Wages &
               Durham, NC 27713                                 reimbursement                                            2024              reimbursements

               Relationship to debtor
               Officer (CEO), Director and
               shareholder


       30.2 Antony Evans                                        $250,000.08 wages and$600 cell phone                                       Wages and
       .                                                        reimbursement                                            2024              reimbursement

               Relationship to debtor
               Officer (COO), director and
               shareholder


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the pension
                                                                                                               fund




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 8

Software Copyright (c) 1996-2025 Best Case, LLC - www.bestcase.com                                                                               Best Case Bankruptcy
        Case 25-00495-5-PWM                            Doc 1 Filed 02/11/25 Entered 02/11/25 14:15:14                            Page 42 of 55
 Debtor      Wild Earth, Inc.                                                                           Case number (if known)



 Part 14:     Signature and Declaration

       WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
       connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
       18 U.S.C. §§ 152, 1341, 1519, and 3571.

       I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
       and correct.

       I declare under penalty of perjury that the foregoing is true and correct.

 Executed on          February 11, 2025

 /s/    Ryan Bethencourt                                                 Ryan Bethencourt
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         Chief Executive Officer

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                          page 9

Software Copyright (c) 1996-2025 Best Case, LLC - www.bestcase.com                                                                        Best Case Bankruptcy
                    Case 25-00495-5-PWM          Doc 1 Filed 02/11/25 Entered 02/11/25 14:15:14              Page 43 of 55


Exhibit C - Payments made in the last 90 days

Vendor                                   total payments oType        Address
                                                                     11971 Grandview Road
                                                                     Grandview MO 64030
Centerpoint Warehousing                         -$8,431.01 service   United States
Kaiser Group                                    -$8,617.02 service   P.O. Box 629028 EL Dorado Hills, CA 95762-9028
                                                                     P.O. Box 743061
                                                                     Los Angeles CA 90074-3061
Brown & Brown Insurance Services, Inc.          -$9,990.92 service   United States
                                                                     1086 Pebble Beach Drive
                                                                     O'Fallon MO 63366
Collings Nutrition Solutions                -$10,500.00 service      United States
                                                                     61 Richmond
                                                                     St Amherstburg Ontario N9V1G1
Darkroast Design                            -$10,822.50 service      Canada
                                                                     PO Box 190
                                                                     Perham MN 56573
Tuffy's Pet Foods, Inc                      -$10,903.22 supplier     United States
                                                                     223 East De La Guerra Street
Impact Tech Inc.                            -$11,716.42 service      Santa Barbara CA 93101
                                                                     PO Box 12255
                                                                     RTP NC 27709
Research Triangle Foundation of NC          -$14,475.63 rent         United States
                                                                     8605 SANTA MONICA BLVD 63484
                                                                     West Hollywood CA 90069
INFLUX INC.                                 -$14,985.00 service      United States
                                                                     10038 Marathon Parkway
                                                                     Lakeside CA 92040
Layfield USA Corporation                    -$18,989.84 supplier     United States
                                                                     P.O. BOX 51011
Anthem BC                                   -$19,576.39 service      Los Angeles CA 90051-5311
FedEx Supply Chain                          -$23,161.25 service      PO Box 1940, Roanoke, TX 76262 United States
                    Case 25-00495-5-PWM   Doc 1 Filed 02/11/25 Entered 02/11/25 14:15:14        Page 44 of 55


                                                                PO Box 84837
Amazon                                 -$25,557.30 service      Seattle WA 98124
                                                                60 Twin River Drive
                                                                Oakdale NY 11769
jade street consulting inc.            -$27,000.00 service      United States
                                                                1208 King St Suite 320
                                                                Chattanooga TN 37403
KCH Transportation Inc                 -$31,308.89 service      United States
                                                                51 O'Connor St
                                                                Ground Floor
                                                                Ottawa, ON K2P 2L8
Shopify                                -$38,181.88 service      Canada
                                                                1600 Amphitheatre Parkway
Google                                 -$40,726.40 service      Mountain View CA 94043
                                                                7009 South 108th st
                                                                LaVista NE 68128
Ag Alchemy                             -$47,070.40 supplier     United States
                                                                1348 State Highway 25
                                                                Brainerd MN 56401
Barrett Petfood Innovation             -$70,256.25 supplier     United States
                                                                  8 King ST E
                                                                  Suite 300
                                                                  Toronto Ontario M5C 1B5
Espresso Capital Ltd.                  -$72,306.90 line of credit Canada
                                                                Atten: Accounts Receivable
                                                                15161 Collections Center Drive
                                                                Chicago IL 60693
Meta Platforms, Inc.                   -$73,620.67 service      United States
Avalara Inc                             -$9,625.46 service       255 S. King St., Ste. 1200 Seattle, WA 98104
Avalara Inc                           -$105,886.41 sales tax     255 S. King St., Ste. 1200 Seattle, WA 98104
                                                                200 Forge Way
                                                                Rockaway NJ 07866
BYLANE Agency, LLC                    -$157,500.00 service      United States
Case 25-00495-5-PWM      Doc 1 Filed 02/11/25 Entered 02/11/25 14:15:14   Page 45 of 55




Wild Earth Detailed Cap Table
EXHIBIT D SHAREHOLDERS



                             Outstanding Fully Diluted Outstanding Fully Diluted
Name                         Shares        Shares        Ownership   Ownership
100 Plus Capital LLC                59,143        59,143      0.174%     0.149%
519 VC 36 LLC                     159,072       159,072       0.469%     0.401%
Abril Estrada                     425,000       799,818       1.253%     2.018%
Aera Climate & Frontier Fund      147,859       147,859       0.436%     0.373%
Alexander Payne Living Trust        59,143        59,143      0.174%     0.149%
Andrew and Sheila Hoffmann        220,934       220,934       0.651%     0.557%
Antony Evans                                    829,576       0.000%     2.093%
Ari Wolff                            4,583         4,583      0.014%     0.012%
Ariel Nessel                      118,287       118,287       0.349%     0.298%
AT ONE VENTURES, L.P.           5,067,925     5,067,925      14.936%    12.787%
Babel Fund I, LP                  147,859       147,859       0.436%     0.373%
Baleine & Bjorn Capital, LLC        36,964        36,964      0.109%     0.093%
Bitburger Ventures GmbH,
registered at the Court of
Wittlich under HRB 44471          736,429       736,429        2.170%        1.858%
Blue Horizon Corporation          295,718       295,718        0.872%        0.746%
Christopher Hoffmann              294,579       294,579        0.868%        0.743%
Civilization Ventures, L.P.        29,571        29,571        0.087%        0.075%
COMPANION FUND I, LLC              55,753       140,155        0.164%        0.354%
Conocete Elephante LLC            375,588       375,588        1.107%        0.948%
Cory Wheat                                       20,000        0.000%        0.050%
Dan McKinley                                     10,000        0.000%        0.025%
David Barnett                     152,826       152,826        0.450%        0.386%
David Jaffe                                      40,000        0.000%        0.101%
Edward Lando                       36,964        36,964        0.109%        0.093%
Ekam Sidana                                      20,000        0.000%        0.050%
Elli Bock                            4,875        4,875        0.014%        0.012%
Everhope Capital                   295,718      295,718        0.872%        0.746%
Evolution VCP LLC                   33,140       33,140        0.098%        0.084%
Felicis Side Fund V, L.P.           17,150       17,150        0.051%        0.043%
Felicis Ventures V, L.P.         2,123,343    2,123,343        6.258%        5.358%
FF Pathfinder VI, LLC              118,287      118,287        0.349%        0.298%
Florian Radke                      143,052      143,052        0.422%        0.361%
Gaingels KS Wild Earth LLC         544,234      544,234        1.604%        1.373%
Gaingels Wild Earth LLC            308,571      308,571        0.909%        0.779%
Case 25-00495-5-PWM         Doc 1 Filed 02/11/25 Entered 02/11/25 14:15:14   Page 46 of 55


Grayson Hoffmann                       36,822       36,822        0.109%        0.093%
Greenfang LLC                       2,209,342    2,209,342        6.511%        5.575%
Gregory Bowman                                       2,500        0.000%        0.006%
Haley Rayburn                                        8,000        0.000%        0.020%
Hans Kunish                           71,610        71,610        0.211%        0.181%
Humboldt Fund I, LP                  152,826       152,826        0.450%        0.386%
Jacob Keller                           2,541         2,541        0.007%        0.006%
James P Hoffmann                     294,579       294,579        0.868%        0.743%
Jason Simon Living Trust
u/a/d June 2, 2016                    36,822        36,822        0.109%        0.093%
Jenna Cameron                          4,687         4,687        0.014%        0.012%
Jesse Ryan Leiter                     20,602        20,602        0.061%        0.052%
Jude Gomila                           29,571        29,571        0.087%        0.075%
Keith McCall                                        50,000        0.000%        0.126%
Kristen Sinch                                      103,841        0.000%        0.262%
Kristin Wuhrman                      115,104       115,104        0.339%        0.290%
Kyle Schroeder                                      10,000        0.000%        0.025%
Lameck H. Lukanga, as
trustee of The Freedom of Joy
Trust                                 36,822        36,822        0.109%        0.093%
Life Line Family Heritage
Fund I, LP                           368,223       368,223        1.085%        0.929%
LIONHEART WILD EARTH
SPV I, a series of Assure Labs
2020, LLC                            191,033       191,033        0.563%        0.482%
M Ventures Fund II, L.P.             118,287       118,287        0.349%        0.298%
M Ventures Fund II, LP                61,948        63,952        0.183%        0.161%
Mark H. Goldstein                     22,178        22,178        0.065%        0.056%
Mark Joseph Beirl                     73,645        73,645        0.217%        0.186%
MFAF IMPACT INVESTMENT
FUND, LLC                             55,753       140,155        0.164%        0.354%
Michael Dubin                                       25,000        0.000%        0.063%
Michael May                            4,000         4,000        0.012%        0.010%
New Protein Fund I LP                736,448       736,448        2.170%        1.858%
Nikita Michelsen                                    50,000        0.000%        0.126%
Olivia Frieden                          3,000        3,000        0.009%        0.008%
Pamela Smith                                        50,000        0.000%        0.126%
Play Thru Ventures II, LLC            73,644        73,644        0.217%        0.186%
Priscilla Vu                           2,000         2,000        0.006%        0.005%
Purple Orange Ventures
GmbH                                 154,871       159,883        0.456%        0.403%
R/GA VENTURES VII, LLC                12,389        95,387        0.037%        0.241%
Case 25-00495-5-PWM       Doc 1 Filed 02/11/25 Entered 02/11/25 14:15:14   Page 47 of 55


Radical Investments LP             1,214,195     1,214,195      3.578%        3.064%
Ravion Cyrus                                         8,000      0.000%        0.020%

Republic Deal Room GP, LLC            318,776     318,776       0.939%        0.804%
Rivendell Trust Company as
Trustee of Rivendell 2018-004         414,005      414,005      1.220%        1.045%
Ron Mullikin                                        10,000      0.000%        0.025%
Ron Shigeta                           956,250      956,250      2.818%        2.413%
Ryan Bethencourt                   1,700,000     4,229,208      5.010%       10.671%
Sandeep H Patel                        36,823       36,823      0.109%        0.093%
Sarah Cone                             36,964       36,964      0.109%        0.093%
Schawei GmbH                          368,223      368,223      1.085%        0.929%
Shalom Meckenzie                      382,067      382,067      1.126%        0.964%
Shin Shin International
Holding Ltd                           154,871     159,883       0.456%        0.403%
Silicon Valley Community
Foundation - Fund 5868                267,447      267,447     0.788%         0.675%
Smith Family Ventures LLC              33,140       33,140     0.098%         0.084%
Steve Simitzis                                     158,097     0.000%         0.399%
Stray Dog Capital, LLC                549,196      549,196     1.619%         1.386%
The Culford Trust                       8,837        8,837     0.026%         0.022%
Thomas Nagy                                         25,000     0.000%         0.063%
UC Wild, LLC                          375,588      375,588     1.107%         0.948%
Uma Valeti                                          10,000     0.000%         0.025%
Vectr Ventures Fund II, LP            309,743      319,767     0.913%         0.807%
VegInvest Trust                    9,687,725     9,888,253    28.550%        24.950%
WIL Gaingels Fund I, a series
of AngelList-GP-Funds-I, LP           216,737     216,737       0.639%        0.547%
Yvonne Wang                                        30,000       0.000%        0.076%
Options and RSU's issued and outstanding
Shares available for issuance under the plan       862,233                    2.176%
Fully diluted shares                            39,632,556                  100.000%
Fully diluted ownership                          100.000%
Total Shares outstanding          33,931,901                 100.000%
Percentage outstanding             100.000%
Share Class Original Issue Price
       Case 25-00495-5-PWM                            Doc 1 Filed 02/11/25 Entered 02/11/25 14:15:14                                      Page 48 of 55

                                                             United States Bankruptcy Court
                                                  Eastern District of North Carolina, Raleigh Division
 In re      Wild Earth, Inc.                                                                                         Case No.
                                                                                   Debtor(s)                         Chapter        11

                                                        LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                        Kind of Interest
 business of holder
 AT One Ventures LP



 See Exhibit D



 VegInvest Trust



DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Chief Executive Officer of the corporation named as the debtor in this case, declare under penalty of perjury that
I have read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and
belief.



 Date       February 11, 2025                                                Signature /s/ Ryan Bethencourt
                                                                                            Ryan Bethencourt

                      Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                       18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
Software Copyright (c) 1996-2025 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
Case 25-00495-5-PWM      Doc 1 Filed 02/11/25 Entered 02/11/25 14:15:14   Page 49 of 55




Wild Earth Detailed Cap Table
EXHIBIT D SHAREHOLDERS



                             Outstanding Fully Diluted Outstanding Fully Diluted
Name                         Shares        Shares        Ownership   Ownership
100 Plus Capital LLC                59,143        59,143      0.174%     0.149%
519 VC 36 LLC                     159,072       159,072       0.469%     0.401%
Abril Estrada                     425,000       799,818       1.253%     2.018%
Aera Climate & Frontier Fund      147,859       147,859       0.436%     0.373%
Alexander Payne Living Trust        59,143        59,143      0.174%     0.149%
Andrew and Sheila Hoffmann        220,934       220,934       0.651%     0.557%
Antony Evans                                    829,576       0.000%     2.093%
Ari Wolff                            4,583         4,583      0.014%     0.012%
Ariel Nessel                      118,287       118,287       0.349%     0.298%
AT ONE VENTURES, L.P.           5,067,925     5,067,925      14.936%    12.787%
Babel Fund I, LP                  147,859       147,859       0.436%     0.373%
Baleine & Bjorn Capital, LLC        36,964        36,964      0.109%     0.093%
Bitburger Ventures GmbH,
registered at the Court of
Wittlich under HRB 44471          736,429       736,429        2.170%        1.858%
Blue Horizon Corporation          295,718       295,718        0.872%        0.746%
Christopher Hoffmann              294,579       294,579        0.868%        0.743%
Civilization Ventures, L.P.        29,571        29,571        0.087%        0.075%
COMPANION FUND I, LLC              55,753       140,155        0.164%        0.354%
Conocete Elephante LLC            375,588       375,588        1.107%        0.948%
Cory Wheat                                       20,000        0.000%        0.050%
Dan McKinley                                     10,000        0.000%        0.025%
David Barnett                     152,826       152,826        0.450%        0.386%
David Jaffe                                      40,000        0.000%        0.101%
Edward Lando                       36,964        36,964        0.109%        0.093%
Ekam Sidana                                      20,000        0.000%        0.050%
Elli Bock                            4,875        4,875        0.014%        0.012%
Everhope Capital                   295,718      295,718        0.872%        0.746%
Evolution VCP LLC                   33,140       33,140        0.098%        0.084%
Felicis Side Fund V, L.P.           17,150       17,150        0.051%        0.043%
Felicis Ventures V, L.P.         2,123,343    2,123,343        6.258%        5.358%
FF Pathfinder VI, LLC              118,287      118,287        0.349%        0.298%
Florian Radke                      143,052      143,052        0.422%        0.361%
Gaingels KS Wild Earth LLC         544,234      544,234        1.604%        1.373%
Gaingels Wild Earth LLC            308,571      308,571        0.909%        0.779%
Case 25-00495-5-PWM         Doc 1 Filed 02/11/25 Entered 02/11/25 14:15:14   Page 50 of 55


Grayson Hoffmann                       36,822       36,822        0.109%        0.093%
Greenfang LLC                       2,209,342    2,209,342        6.511%        5.575%
Gregory Bowman                                       2,500        0.000%        0.006%
Haley Rayburn                                        8,000        0.000%        0.020%
Hans Kunish                           71,610        71,610        0.211%        0.181%
Humboldt Fund I, LP                  152,826       152,826        0.450%        0.386%
Jacob Keller                           2,541         2,541        0.007%        0.006%
James P Hoffmann                     294,579       294,579        0.868%        0.743%
Jason Simon Living Trust
u/a/d June 2, 2016                    36,822        36,822        0.109%        0.093%
Jenna Cameron                          4,687         4,687        0.014%        0.012%
Jesse Ryan Leiter                     20,602        20,602        0.061%        0.052%
Jude Gomila                           29,571        29,571        0.087%        0.075%
Keith McCall                                        50,000        0.000%        0.126%
Kristen Sinch                                      103,841        0.000%        0.262%
Kristin Wuhrman                      115,104       115,104        0.339%        0.290%
Kyle Schroeder                                      10,000        0.000%        0.025%
Lameck H. Lukanga, as
trustee of The Freedom of Joy
Trust                                 36,822        36,822        0.109%        0.093%
Life Line Family Heritage
Fund I, LP                           368,223       368,223        1.085%        0.929%
LIONHEART WILD EARTH
SPV I, a series of Assure Labs
2020, LLC                            191,033       191,033        0.563%        0.482%
M Ventures Fund II, L.P.             118,287       118,287        0.349%        0.298%
M Ventures Fund II, LP                61,948        63,952        0.183%        0.161%
Mark H. Goldstein                     22,178        22,178        0.065%        0.056%
Mark Joseph Beirl                     73,645        73,645        0.217%        0.186%
MFAF IMPACT INVESTMENT
FUND, LLC                             55,753       140,155        0.164%        0.354%
Michael Dubin                                       25,000        0.000%        0.063%
Michael May                            4,000         4,000        0.012%        0.010%
New Protein Fund I LP                736,448       736,448        2.170%        1.858%
Nikita Michelsen                                    50,000        0.000%        0.126%
Olivia Frieden                          3,000        3,000        0.009%        0.008%
Pamela Smith                                        50,000        0.000%        0.126%
Play Thru Ventures II, LLC            73,644        73,644        0.217%        0.186%
Priscilla Vu                           2,000         2,000        0.006%        0.005%
Purple Orange Ventures
GmbH                                 154,871       159,883        0.456%        0.403%
R/GA VENTURES VII, LLC                12,389        95,387        0.037%        0.241%
Case 25-00495-5-PWM       Doc 1 Filed 02/11/25 Entered 02/11/25 14:15:14   Page 51 of 55


Radical Investments LP             1,214,195     1,214,195      3.578%        3.064%
Ravion Cyrus                                         8,000      0.000%        0.020%

Republic Deal Room GP, LLC            318,776     318,776       0.939%        0.804%
Rivendell Trust Company as
Trustee of Rivendell 2018-004         414,005      414,005      1.220%        1.045%
Ron Mullikin                                        10,000      0.000%        0.025%
Ron Shigeta                           956,250      956,250      2.818%        2.413%
Ryan Bethencourt                   1,700,000     4,229,208      5.010%       10.671%
Sandeep H Patel                        36,823       36,823      0.109%        0.093%
Sarah Cone                             36,964       36,964      0.109%        0.093%
Schawei GmbH                          368,223      368,223      1.085%        0.929%
Shalom Meckenzie                      382,067      382,067      1.126%        0.964%
Shin Shin International
Holding Ltd                           154,871     159,883       0.456%        0.403%
Silicon Valley Community
Foundation - Fund 5868                267,447      267,447     0.788%         0.675%
Smith Family Ventures LLC              33,140       33,140     0.098%         0.084%
Steve Simitzis                                     158,097     0.000%         0.399%
Stray Dog Capital, LLC                549,196      549,196     1.619%         1.386%
The Culford Trust                       8,837        8,837     0.026%         0.022%
Thomas Nagy                                         25,000     0.000%         0.063%
UC Wild, LLC                          375,588      375,588     1.107%         0.948%
Uma Valeti                                          10,000     0.000%         0.025%
Vectr Ventures Fund II, LP            309,743      319,767     0.913%         0.807%
VegInvest Trust                    9,687,725     9,888,253    28.550%        24.950%
WIL Gaingels Fund I, a series
of AngelList-GP-Funds-I, LP           216,737     216,737       0.639%        0.547%
Yvonne Wang                                        30,000       0.000%        0.076%
Options and RSU's issued and outstanding
Shares available for issuance under the plan       862,233                    2.176%
Fully diluted shares                            39,632,556                  100.000%
Fully diluted ownership                          100.000%
Total Shares outstanding          33,931,901                 100.000%
Percentage outstanding             100.000%
Share Class Original Issue Price
       Case 25-00495-5-PWM                            Doc 1 Filed 02/11/25 Entered 02/11/25 14:15:14                      Page 52 of 55




                                                             United States Bankruptcy Court
                                                  Eastern District of North Carolina, Raleigh Division
 In re      Wild Earth, Inc.                                                                              Case No.
                                                                                Debtor(s)                 Chapter    11




                                              VERIFICATION OF CREDITOR MATRIX


I, the Chief Executive Officer of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true

and correct to the best of my knowledge.




 Date:        February 11, 2025                                      /s/ Ryan Bethencourt
                                                                      Ryan Bethencourt/Chief Executive Officer
                                                                     Signer/Title




Software Copyright (c) 1996-2025 Best Case, LLC - www.bestcase.com                                                              Best Case Bankruptcy
   Case 25-00495-5-PWM      Doc 1 Filed 02/11/25 Entered 02/11/25 14:15:14   Page 53 of 55
ADM ANIMAL NUTRITION            AIRGAS USA, LLC                  AMERICAN KENNEL CLUB, INC.
ATTN: OFFICER, MGR. OR AGENT    ATTN: OFFICER, MGR. OR AGENT     ATTN: OFFICER, MGR. OR AGENT
1000 NORTH 30TH STREET          P.O. BOX 93500                   8051 ARCO CORPORATE DR, STE 114
QUINCY, IL 62301                LONG BEACH, CA 90809-3500        RALEIGH, NC 27617


AT ONE VENTURES LP              AVALARA, INC.                    BARRETT PETFOOD INNOVATION
                                ATTN: OFFICER, MGR. OR AGENT     ATTN: OFFICER, MGR. OR AGENT
                                255 S. KING STREET, STE 1200     1348 STATE HWY 25
BERKLEY INTERNATIONAL, LLC      SEATTLE, WA 98104                BRAINERD, MN 56401
ATTN: OFFICER, MGR. OR AGENT
4007 PARAMOUNT BLVD, UNIT 109
LAKEWOOD, CA 90712              BOTTOMLESS CO.                   BREEDERS CHOICE PET FOODS LLC
                                ATTN: OFFICER, MGR. OR AGENT     ATTN: OFFICER, MGR. OR AGENT
                                2810 N. CHURCH STREET            16321 EAST ARROW HIGHWAY
CENTERPOINT WAREHOUSING         WILMINGTON, DE 19802             IRWINDALE, CA 91706
ATTN: OFFICER, MGR. OR AGENT
11971 GRANDVIEW ROAD
GRANDVIEW, MO 64030             CENTRAL STAR PACKAGING           CHUCK LATHAM ASSOCIATES, INC.
                                SOLUTIONS LLC                    ATTN: OFFICER, MGR. OR AGENT
                                ATTN: OFFICER, MGR. OR AGENT     18403 LONGS WAY, UNIT 102
CITY OF BERKELEY                4901 S. 4TH STREET               PARKER, CO 80134
ATTN: OFFICER, MGR. OR AGENT    LEAVENWORTH, KS 66048
1947 CENTER STREET
BERKELEY, CA 94704                                               DELAWARE DIVISION OF
                                CLIMAX FOODS INC.                CORPORATIONS
                                ATTN: OFFICER, MGR. OR AGENT     ATTN: OFFICER, MGR. OR AGENT
DURHAM CO. TAX COLLECTOR        2865 SEVENTH STREET, UNIT B      P.O. BOX 898
ATTN: OFFICER, MANAGER OR       BERKELEY, CA 94710               DOVER, DE 19903
AGENT
201 E. MAIN STREET
DURHAM, NC 27701                ECOMM PARTNERS LLC               ESPRESSO CAPITAL LTD.
                                ATTN: OFFICER, MGR. OR AGENT     ATTN: OFFICER, MGR. OR AGENT
                                11971 GRANDVIEW ROAD #C          300-8 KING STREET EAST TORONTO,
FARNAM STREET FINANCIAL         GRANDVIEW, MO 64030              ONTARIO,
ATTN: OFFICER, MGR. OR AGENT
5850 OPUS PKWY, SUITE 240
HOPKINS, MN 55343               FEDEX 3PL                        FELICIS SIDE FUND V LP
                                ATTN: OFFICER, MGR. OR AGENT
                                3875 AIRWAYS, MODULE H3
FRONTIER                        DEPARTMENT 4634                  GREENGANG LLC
                                MEMPHIS, TN 38116

INTERCOM                                                         JADE STREET
                                GAINGELS WILD EARTH 2023 LLC

JADE STREET CONSULTING INC.                                      LAYFIELD USA CORPORATION
ATTN: OFFICER, MGR. OR AGENT    INTERNAL REVENUE SERVICE         ATTN: OFFICER, MGR. OR AGENT
60 TWIN RIVER DRIVE             CENTRALIZED INSOLVENCY           10038 MARATHON PARKWAY
OAKDALE, NY 11769               OPERATIONS                       LAKESIDE, CA 92040
                                P.O. BOX 7346
                                PHILADELPHIA, PA 19101-7346


                                KCH TRANSPORTATION INC.
                                ATTN: OFFICER, MGR. OR AGENT
                                1208 KING STREET, STE. 320
                                CHATTANOOGA, TN 37403
   Case 25-00495-5-PWM       Doc 1 Filed 02/11/25 Entered 02/11/25 14:15:14    Page 54 of 55
LEHRMAN BEVERAGE LAW              LIVESTOCK LABS                    META PLATFORMS, INC.
ATTN: MANAGER OR AGENT                                              ATTN: OFFICER, MGR. OR AGENT
2911 HUNTER MILL RD #303                                            15161 COLLECTION CENTER DR
OAKTON, VA 22124                  MVENTIX INC.                      CHICAGO, IL 60693
                                  ATTN: OFFICER, MGR. OR AGENT
                                  21600 OXNARD ST., STE 1700
MNTN, INC.                        WOODLAND HILLS, CA 91367          N.C. DEPARTMENT OF REVENUE
ATTN: OFFICER, MGR. OR AGENT                                        OFFICE SERVICES DIVISION,
P.O. BOX 92101                                                      BANKRUPTCY UNI
LAS VEGAS, NV 89193               NORTH RIVER ENTERPRISES LLC       P.O. BOX 1168
                                  ATTN: OFFICER, MGR. OR AGENT      RALEIGH, NC 27602-1168
                                  P.O. BOX 2287
NEW YORK STATE                    EVERGREEN, CO 80437
NYS SALES TAX PROCESSING                                            PAXIO, INC.
PO BOX 15172                                                        ATTN: OFFICER, MGR. OR AGENT
ALBANY, NY 12212                  PG&E                              P.O. BOX 8247
                                  ATTN: OFFICER, MGR. OR AGENT      EMERYVILLE, CA 94662
                                  P.O. BOX 997300
PERFORMYARD INC.                  SACRAMENTO, CA 95899-7300
ATTN: OFFICER, MGR. OR AGENT                                        PROPELLER INDUSTRIES, LLC
4201 WILSON BLVD, #110420                                           ATTN: OFFICER, MGR. OR AGENT
ARLINGTON, VA 22203                RACHEL STOIAN                    ONE WORLD TRADE CENTER, FL21
                                   DORSEY WHITNEY LLP               285 FULTON
                                   167 HAMILTON AVENUE, SUITE 200   NEW YORK, NY 10007
QUATRRO BUSINESS SUPPORT SVCS PALO ALTO, CA 94301
ATTN: OFFICER, MGR. OR AGENT
1710 S. AMPHLETT BLVD, STE 320                                      REDWOOD SECURITY SYSTEMS, INC.
SAN MATEO, CA 94402                SEVENTH STREET PROPERTY VIII,    ATTN: OFFICER, MGR. OR AGENT
                                   LLC                              P.O. BOX 1809
                                   ATTN: OFFICER, MGR. OR AGENT     MILL VALLEY, CA 94942
SALES TAXES                        5858 HORTON ST., STE 288
ATTN: OFFICER, MRG. OR AGENT       EMERYVILLE, CA 94608
C/O AVALARA, INC. 255 S. KING ST.,                                  STORELLA & WITT, LLP
STE 1                                                               ATTN: OFFICER, MGR. OR AGENT
SEATTLE, WA 98104                  VANGUARD PACKAGING               2625 ALCATRAZ AVE #197 STE. A-015
                                   ATTN: OFFICER, MGR. OR AGENT     BERKELEY, CA 94705
                                   8800 NE UNDERGROUND DRIVE
TRIANGLE TWEENER FUND, LP-B3       KANSAS CITY, MO 64161
                                                                    VEOLIA WTS SERVICES USA, INC.
                                                                    ATTN: OFFICER, MGR. OR AGENT
WARE2GO, INC.                     WILSON SONSINI GOODRICH AND       P.O. BOX 742132
ATTN: OFFICER, MGR. OR AGENT      ROSATI, PC                        LOS ANGELES, CA 90074-2132
3535 PIEDMONT RD, NE BLDG 14,     ATTN: OFFICER, MGR. OR AGENT
STE. 1500                         P.O. BOX 742866
ATLANTA, GA 30305                 LOS ANGELES, CA 90074             XELA JANITORIAL
                                                                    ATTN: OFFICER, MGR. OR AGENT
                                                                    1318 CHIGNAHUAPAN WAY
ZARI CONSULTING GROUP, INC.       ZIEGLER DISTRIBUTOR INC           ROSEVILLE, CA 95747
ATTN: OFFICER, MGR. OR AGENT      ATTN: OFFICER, MGR. OR AGENT
755 BAYWOOD DRIVE, 2ND FLOOR      27 LEBANON VALLEY PKWY
PETALUMA, C                       LEBANON, PA 17042
       Case 25-00495-5-PWM                             Doc 1 Filed 02/11/25 Entered 02/11/25 14:15:14                     Page 55 of 55




                                                               United States Bankruptcy Court
                                                   Eastern District of North Carolina, Raleigh Division
 In re      Wild Earth, Inc.                                                                              Case No.
                                                                                  Debtor(s)               Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Wild Earth, Inc. in the above captioned action, certifies that the following is a (are)
corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any class of
the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
 AT One Ventures LP

 VegInvest Trust




     None [Check if applicable]




 February 11, 2025                                                   /s/ Laurie B. Biggs
 Date                                                                Laurie B. Biggs 31845
                                                                     Signature of Attorney or Litigant
                                                                     Counsel for Wild Earth, Inc.
                                                                     Biggs Law Firm PLLC
                                                                     9208 Falls of Neuse Road Suite 120
                                                                     Raleigh, NC 27615
                                                                     (919) 375-8040 Fax:(919) 341-9942
                                                                     lbiggs@biggslawnc.com




Software Copyright (c) 1996-2025 Best Case, LLC - www.bestcase.com                                                              Best Case Bankruptcy
